Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 1 of 10




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  RAZIEL OFER

            Plaintiff                                          Case No.: 24-CV-24478-RKA


  v.

  1434 COLLINS, LLC, et. al.

  ___________________________________________ /

                         METROPOLITAN MORTGAGE COMPANY, LLC’S
                        MOTION TO DISMISS VERIFIED INITIAL COMPLAINT

            Defendant, Metropolitan Mortgage Company, LLC, by and through undersigned counsel,

  hereby moves to dismiss Counts IV and VI of the Plaintiff’s Verified Initial Complaint pursuant

  to Federal Rules of Civil Procedure 8(a)(2), 12(b)(6), and Rule 13(a), and states as follows.

       I.   Introduction

            Plaintiff Raziel Ofer has filed an incoherent Verified Initial Complaint in which he sued

  five defendants for acts allegedly arising out of a convoluted series of real estate transactions on

  Miami Beach. [ECF No. 1]. Ofer failed to serve four of the five defendants, leaving Metropolitan

  Mortgage Company, LLC (“Metropolitan”) as the only defendant who was properly served. [ECF

  Nos. 20, 30]. Ofer’s Complaint attempts to state a claim for civil conspiracy against Metropolitan

  (Count IV) as well as claim for “fraud in the concealment” (mis-numbered as Count IV but actually

  the sixth claim).

            This Court should dismiss the Complaint in its entirety pursuant to Rules 8(a)(2) and

  12(b)(6) because Ofer failed to plead any allegations that would entitle him to relief against

  Metropolitan. Moreover, to the extent the allegations of the Complaint do make sense, they

  demonstrate that Ofer’s claims are compulsory counterclaims that should have been raised in an

                                              Page 1 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 2 of 10




  ongoing lawsuit filed in state court in Miami in 2022. Finally, Ofer’s fraud claim cannot survive

  because he failed to identify any fraudulent statements or information that was concealed.

   II.   Legal Standard

         A pleading must contain a “short and plain statement of the claim showing that the pleader

  is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P.

  8(a)(2)). In order to withstand a Rule 12(b)(6) motion, the “complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Pro

  Services, Inc. v. BHS Corrugated - N. Am., Inc., 24-CV-60318, 2024 WL 3103677, at *2 (S.D.

  Fla. June 20, 2024) (Damian, J.) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A complaint

  meets this standard if it alleges “factual content that allows the court to draw the reasonable

  inference that the defendant is liable for the misconduct alleged.” Ashcroft, 556 U.S. at 678 (citing

  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). The court must construe the complaint in

  the light most favorable to the plaintiff and take the factual allegations as true. Pro Services, 24-

  CV-60318, 2024 WL 3103677, at *2. However, “[a] district court may dismiss a complaint for

  failure to comply with Rule 8(a)(2) if the plaintiff can prove no facts that would entitle him to

  relief.” Osahar v. U.S. Postal Serv., 297 Fed. Appx. 863, 864 (11th Cir. 2008) (citing Swierkiewicz

  v. Sorema N.A., 534 U.S. 506, 514 (2002)). A claim for fraud must be pled with particularity. Fed.

  R. Civ. P. 9(b).

  III.   Memorandum of Law

      A. The Complaint Fails to Articulate any Coherent Claims Against Metropolitan and
         Should be Dismissed Pursuant to Rules 12(b)(6) and 8(a)(2).

         Despite the fact that Ofer is proceeding pro se, he must comply with the Federal Rules of

  Civil Procedure, including Rule 8(a)(2), which requires a pleading to contain a “short and plain

  statement of the claim” showing the pleader is entitled to relief. Cruz v. Felix, 23-CV-20539, 2023

                                             Page 2 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 3 of 10




  WL 1965084, at *1 (S.D. Fla. Feb. 13, 2023) (Bloom, J.) (citing Barmapov v. Amuial, 986 F.3d

  1321, 1324 (11th Cir. 2021)). “The Court cannot simply ‘fill in the blanks’ to infer a claim, as it is

  not the Court's duty to search through a plaintiff's filings to find or construct a pleading that

  satisfies Rule 8.’” McDowell v. Gonzalez, 424 F. Supp. 3d 1214, 1221 (S.D. Fla. 2019), aff'd, 820

  Fed. Appx. 989 (11th Cir. 2020) (cleaned up) (quotations omitted). This Court may dismiss Ofer’s

  complaint “for failure to comply with Rule 8(a)(2) if the plaintiff can prove no facts that would

  entitle him to relief.” Osahar v. U.S. Postal Serv., 297 Fed. Appx. 863, 864 (11th Cir. 2008) (citing

  Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002)).

         Here, Ofer fails to state a claim under Rule 12(b)(6) because his Complaint is not a plain

  statement of fact showing he is entitled to any relief whatsoever. Ofer attempts to assert claims

  against Metropolitan for civil conspiracy and fraud. The allegations demonstrate that Ofer’s claims

  arise out of a web of convoluted real estate transactions involving two properties on Miami Beach

  dating back to 2013. Compl. ¶¶ 2-3, 7 [ECF No. 1]. However, Ofer’s 43 paragraphs of general

  allegations are incoherent and confusing, describe the defendants’ conduct in vague and generic

  language, and refer to events dating back to 2008 which appear to have no bearing on this matter.

  See id. at ¶ 3. Ofer failed to attach any of the operative loan documents, so Metropolitan is left

  guessing at the precise nature of the scope of Ofer’s claims and the alleged misconduct; a task

  which is compounded by the volume of transactions and number of properties and defendants. The

  Court should find that Ofer’s complaint fails to state any claim for relief and dismiss the pleading

  in accordance with Rule 8(a)(2). See Osahar v. U.S. Postal Serv., 297 Fed. Appx. 863, 864 (11th

  Cir. 2008).




                                              Page 3 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 4 of 10




      B. Plaintiff’s Claims Appear to be Compulsory Counterclaims that Should have been
         Raised in the Prior Lawsuits.

         Next, Ofer describes two prior lawsuits filed in 2019 and 2022, recounting some of the

  procedural history of each lawsuit as well as some of the transactional history that preceded the

  lawsuits. See Compl. ¶¶ 26-43. Ofer specifically alleges that “Defendants alleged in other places”,

  which presumably refers to the prior lawsuits. Id. at ¶¶ 16-17. Ofer also suggests his fraud claim

  against Raijman arose of out statements made in 2018 – prior to the institution of the two prior

  lawsuits. Id. at ¶¶16-20. These “facts” demonstrate that Ofer’s claims against Metropolitan (a)

  were known by Ofer seven years ago and (b) should have been raised in either of the 2019 or 2022

  lawsuits. Furthermore, in his general allegations, Ofer alleges that 1434 Collins, LLC “while under

  the control of Rodriguez, failed to (i) perform its obligations under the various loans as they

  became due, (ii) neglected its duty to Ofer to pursue all remedies to cure any shortcomings in the

  loans and perform, and (iii) failed to take any other action to perform under the loans.” Id. at ¶ 43.

  Then, each and every claim is based on the same identical allegations that 1434 Collins, LLC was

  a guarantor on “various loans” and it failed to perform under one loan issued in July 2018. Id. at

  ¶¶ 46-47, 54-55, 66-67, 80-81, 92-93, 107-08. The alleged “failure to perform” of 1434 Collins,

  LLC appears to have been an issue in the 2022 lawsuit. See id. at ¶ 36 (alleging that Metropolitan

  alleged that “Drexel and 1434 maintained obligations on the real property, as mortgagors and/or

  co-borrower/guarantors for which Ofer served as guarantor”). In addition, the “failure to perform”

  sounds in a claim for breach of contract against 1434 Collins, LLC, not a fraud claim against

  Metropolitan. See Compl. ¶¶ 33-36, 38-43.1




  1
   At the outset of his Complaint, Ofer alleges that he controlled 1434 Collins, LLC. Compl. ¶¶ 4-
  5. Then, without explaining if or how this changed, he then alleges that “1434, Drexel and Drexel
  Financial were all owned and/or controlled by Rodriguez or related parties”. Id. at ¶ 39. It is unclear
                                              Page 4 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 5 of 10




         Further complicating his already-convoluted claims, Ofer alleges that Drexel Financial,

  LLC purchased all of Metropolitan’s mortgages and was substituted as the plaintiff in the 2022

  lawsuit. Id. at ¶¶ 36-37. Assuming that to be true, any claims Ofer had against Metropolitan arising

  out of or related to these mortgages (presuming he had any viable claims), would have been

  transferred to Drexel.

         The 2022 lawsuit is still ongoing. See generally Docket Case No. 2022-003487-CA-01.2

  Both 1434 Collins, LLC and Ofer were sued as defendants. See Case No. 2022-003487-CA-01,

  Amended Compl., [ECF No. 27]. Ofer signed at least one of the notes as the manager of 1434

  Collins. Id. at Ex. A. Ofer has appealed the judgment. See [ECF No. 181]. Based on Ofer’s

  allegations in this Court and the allegations of the Amended Complaint in the 2022 state court

  lawsuit, it plainly appears that Ofer’s claims in this lawsuit arise from the same core of facts as the

  2022 lawsuit. Therefore, Ofer was required to raise these claims in the 2022 lawsuit (and possibly

  in the 2019 lawsuit as well) as a compulsory counterclaim. See Fed. R. Civ. P. 13(a); Montgomery

  Ward Dev. Corp. v. Juster, 932 F.2d 1378, 1380 (11th Cir. 1991); John Alden Life Ins. Co. v.

  Cavendes, 591 F. Supp. 362, 365 (S.D. Fla. 1984). When determining whether a counterclaim is

  compulsory, this Court applies the “logical relationship” test. Republic Health Corp. v. Lifemark




  how the failure of Ofer’s own company, 1434 Collins, LLC, to perform its obligations could
  possibly give rise to liability for Metropolitan for fraud.
  2
    While the 2022 lawsuit in state court in Miami is outside the four corners of the Complaint, it is
  well-established that “a district court may take judicial notice of matters of public record without
  converting a motion to dismiss into one for summary judgment.” Great Lakes Ins. SE v. Crabtree,
  673 F. Supp. 3d 1301, 1311 (S.D. Fla. 2023) (Altman, J.) (quoting Klopfenstein v. Deutsche Bank
  Sec., Inc., 592 F. App'x 812, 816 (11th Cir. 2014)). A district court can properly take judicial notice
  of another court’s order or docket “to establish the fact of such litigation and related filings” “or
  the subject matter of the litigation.” Great Lakes, 673 F. Supp. 3d at 1312 (quoting United States
  v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994)).

                                              Page 5 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 6 of 10




  Hosps. of Florida, Inc., 755 F.2d 1453, 1455 (11th Cir. 1985). A logical relationship arises when

  “the same operative facts serve as the basis of both claims or the aggregate core of facts upon

  which the claim rests activates additional legal rights, otherwise dormant, in the defendant.”

  Republic, 755 F.2d at 1455 (quoting Plant v. Blazer Financial Services, Inc., 598 F.2d 1357, 1361

  (5th Cir. 1979)).

           “The purpose of the compulsory counterclaim rule is to eliminate multiplicity of litigation.”

  Montgomery Ward Dev. Corp. v. Juster, 932 F.2d 1378, 1381 (11th Cir. 1991). See also John

  Alden Life Ins. Co. v. Cavendes, 591 F. Supp. 362, 366 (S.D. Fla. 1984) (“The objectives of Rule

  13(a) are to provide complete relief to the parties in a single suit by ‘flushing out’ all claims; to

  promote judicial economy; and to avoid the inefficiencies of piecemeal litigation.”). Ofer’s

  Complaint identifies two lawsuits related to the same properties at issue in this lawsuit. [ECF No.

  1 at ¶ 26, 36]. Plaintiff’s attempt to institute a third lawsuit promotes a multiplicity of litigation

  and raises the risks of inconsistent outcomes, particularly when the 2022 lawsuit remains pending

  in both the state and appellate courts.

           Because Ofer failed to raise these claims in the 2022 lawsuit, he has waived them.

  Montgomery Ward Dev. Corp. v. Juster, 932 F.2d 1378, 1381 (11th Cir. 1991). Ofer’s failure to

  do so renders any further amendment futile. Id. This Court should therefore dismiss Ofer’s claims

  against Metropolitan with prejudice as a compulsory counterclaim.

        C. Plaintiff Failed to Plead Fraud with Particularity.

           In Count VI (misnumbered as the second Count “IV”), Ofer attempts to plead a claim for

  “fraud in the concealment.”3 Under Florida law, a claim for fraudulent concealment requires the

  plaintiff to prove: (1) the defendant knowingly concealed or failed to disclose a material fact; (2)



  3
      Metropolitan assumes Ofer means “fraudulent concealment.”
                                               Page 6 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 7 of 10




  which it had a duty to disclose; (3) the defendant knew its concealment of or failure to disclose the

  material fact would induce the plaintiff to act; and (4) the plaintiff detrimentally relied on the

  misinformation. 777 Partners LLC v. Pagnanelli, No. 20-20172-CIV, 2022 WL 4597804, at *10–

  11 (S.D. Fla. Mar. 16, 2022) (citing Hess v. Philip Morris USA, Inc., 175 So. 3d 687, 691 (Fla.

  2015)). Here, Ofer hasn’t alleged sufficient facts to establish any of the elements of fraudulent

  concealment, so this claim should be dismissed pursuant to Rule 12(b)(6). See Compl. ¶¶ 1-43;

  105-116.

         In addition, Ofer was required to plead fraud with particularity, detailing the “who, what,

  when, where and how” about the fraud that took place. Fed. R. Civ. P. 9(b); Garfield v. NDC

  Health Corp., 466 F.3d 1255, 1262 (11th Cir. 2006). In addition, Ofer had to allege “what the

  defendants obtained as a consequence of the fraud.” Garfield, 466 F.3d at 1262. A cursory review

  of the Complaint demonstrates that Ofer failed to plead fraud with particularity. The allegations of

  the fraud claim do not identify any statements or attempts to knowingly conceal or fail to disclose

  any material facts that could possibly support a fraud claim. See Compl. ¶¶ 105-116. At most, Ofer

  states that he “relied on the statements and emails which were issued by Milton Raijman”;

  however, Ofer fails to identify these statements or emails. Id. at ¶ 114. The Complaint’s general

  allegations also fail to identify any alleged fraudulent statements. See id. at ¶¶ 1-43. Because Ofer

  failed to identify any basis to hold Metropolitan liable for fraud, Count VI must be dismissed.

  Solomon v. Blue Cross & Blue Shield Ass'n, 574 F. Supp. 2d 1288, 1293 (S.D. Fla. 2008).

  Furthermore, Ofer’s “understandings” and “beliefs” do not support a fraud claim. See Compl. ¶¶

  23,114. See Garrett-Alfred v. Facebook, Inc., 540 F. Supp. 3d 1129, 1139 (M.D. Fla. 2021)

  (“Florida law imposes a reliance requirement in an omissions case, which cannot be satisfied by

  assumptions.” (quoting Humana, Inc. v. Castillo, 728 So. 2d 261, 265 (Fla. 2d DCA 1999))).



                                             Page 7 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 8 of 10




      D. Plaintiff’s Conspiracy Claim Cannot Survive.

          Finally, Ofer’s conspiracy claim (Count IV) must be dismissed pursuant to Rule 12(b)(6)

  for three distinct reasons. First, the conspiracy claim cannot exist as a stand-alone claim. Tejera v.

  Lincoln Lending Services, LLC, 271 So. 3d 97, 103 (Fla. 3d DCA 2019) (“Florida does not

  recognize civil conspiracy as a freestanding tort.”); Koch v. Royal Wine Merchants, Ltd., 907 F.

  Supp. 2d 1332, 1346 (S.D. Fla. 2012) (“Unlike a criminal conspiracy, which is an offense in itself,

  a civil conspiracy ‘is not a separate or independent tort but is a vehicle for imputing the tortuous

  [sic] actions of one co-conspirator to another.’” (quoting Hoch v. Rissman, Weisberg, Barrett, 742

  So.2d 451, 460 (Fla. 5th DCA 1999))). In this Count, it appears that Ofer is alleging that

  Metropolitan conspired to “falsely accuse [him] of wrongfully withdrawing funds,” which led to

  entry of a judgment. However, there is no underlying claim against any present defendant based

  on this conduct. To the extent the fraudulent concealment action is based on that same conduct,

  once that is dismissed, the conspiracy claim must also be dismissed. Benessere Inv. Group, LLC

  v. Swider, No. 24-CV-21104-RAR, 2024 WL 4652090, at *12 (S.D. Fla. Oct. 31, 2024) (“Because

  Plaintiffs fail to establish any of the underlying claims, the civil conspiracy claim must also fail.”).

          In addition, the intracorporate conspiracy doctrine requires dismissal of this count. The

  Complaint alleges that Milton Raijman owns Metropolitan. [ECF 1 at ¶ 6]. The conspiracy count

  is then alleged against Raijman and Metropolitan. It is well settled that “a corporation cannot

  conspire with its employees, and its employees, when acting in the scope of their employment,

  cannot conspire among themselves.” Robinson Indus., Inc. Profit Sharing Plan v. Chapman, 2010

  WL 11626745, at *2 (M.D. Fla. Sept. 9, 2010). “Because the acts of a corporation’s agents are

  considered to be those of a single legal actor ..., it is not possible for a single legal entity consisting

  of the corporation and its agents to conspire with itself.” Id.



                                                Page 8 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 9 of 10




            Finally, Ofer failed to allege any discrete actions taken by Metropolitan in furtherance of

  the conspiracy. See Compl. ¶¶ 78-89.4 Ofer was required to allege a factual basis for its claim that

  a conspiracy existed to put Metropolitan on notice of the nature of the claim and its alleged role in

  the conspiracy. Grappell v. Carvalho, 847 Fed. Appx. 698, 702 (11th Cir. 2021) (“In conspiracy

  cases, a defendant must be informed of the nature of the conspiracy which is alleged. It is not

  enough to simply aver in the complaint that a conspiracy existed.” (quoting Fullman v. Graddick,

  739 F.2d 553, 557 (11th Cir. 1984))). Because Ofer failed to plead any factual allegations to

  identify Metropolitan’s role in the alleged conspiracy, this claim must be dismissed.

   IV.      Conclusion

            For the foregoing reasons, the Plaintiff’s Complaint should be dismissed.


                                                         Respectfully submitted,

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  4
      Again, the Complaint’s general allegations do not cure this defect.
                                               Page 9 of 10
Case 1:24-cv-24478-RKA Document 32 Entered on FLSD Docket 05/02/2025 Page 10 of 10




                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 2, 2025, I electronically filed the foregoing document

   using CM/ECF, which will provide a copy to all counsel of record, and also served this on the

   following:

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                                          Page 10 of 10
